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                                                                        NOT PRBCEDENTIAL
                           LINI]ED STATES COURT OF APPEALS
                                 FOR T]I{E THIRD CIRCUIT



                                           No. i7-1925


                      SIIAryry wrLMoTH; TRENToN pool;
              SIGNATURE MASTERS INC.; BENEZET
                                              CONSUL:|ING                     LLC.I
                                                           Appellants

                                                V.

                     SECRETAR.Y OF THE STATE OF NEW
                                                    JERSEY;
                      LIEUTENANT GOVERNOR OF NEW JERSEY


                       On Appeal from the United States District
                                                                 Court
                              for the District of New Jersey
                                (D.C. Civil No. 3_16_cv_01854)
                         District Judge: Honorable peter G. Sheridan


                                   Argued lanuuy 23,2019


           Ilefore: HARDIM,AN,                       and           , circuit Judges.
                                    'ANASKTE,         'H'ARTZ
                                    (Filed:April 19, 2018)
Paul A. Rossi, Esq. fArgued]
IMPG Advocates Inc.
316 Hill Sfeet
Mountville,PA 17554




        I This
               caption reflects the proper spelling for Benezet
                                                                  even though the oaption   of
1'he complaint contains a typographi&r
                                          error, spelling it as o,Benzet.,,
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                                                 OPINION-


  VANASKIE,           C ir   cuit Judge.

             At   issue in this case is a New Jersey
                                                     law requiring that persons circulating
 petitions c'n behalf of candidates
                                    for national office be residents of lrtrew
                                                                               Jersey.
 Appellantr; Shawn wilmoth and Trenton
                                       Fool argue that the law in question, N.J.
                                                                                 Stat.
 Ann' $ 19,23-11, imposes an impermissible
                                              burden on their First Arnendment right
                                                                                      to
 engage in oore political speech.
                                  The District court dismissed their complaint
                                                                               fbr failure
to plead a plausible claim for relief"
                                       we, however, conclud e thatAppellants nave
pleaded fa<;ts sufficient to survive
                                     dismissar and proceed to discoverr/.
                                                                          we therefbre will
vacate the        District court's order and remand for further
                                                                proceedings consistent with this
opinion.




         .
           This disposition is not an opinion of the
                                                     full court and pursuant to I.o.p. 5.7
cloes   not constitute binding precedent.
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                                                    I.

        New Jersey holds a closed primary election during
                                                          each pre:sidential election

 cycle' To vote in New Jersey's closeclprimary,          an individual must be (1) registered to

 vote in ]rTew Jersey and (2) a registered member
                                                  of a political pafilr that appears on the
 ptimaty election ballot. N.J. Stat" Ann.
                                          $ 19:23-45. under New Ji:rsey law, a .,political
 pariy" is defined as any party that garners at
                                                least 10 percent of the votes cast in the last

 primary election for the office of   a   member of the General Assembly. Id.
                                                                                   $   19:5-1. As   it
 stands to<lay, New Jersey recognizes only
                                           two political parties: Democratic and

Repubiican.

       To be listed on New Jersey's primary election
                                                     ballot, a prospective presidential
candidate must submit a nomination petition
                                            to the Secretary of state within sixty-fbur

days of the primary election. Id.
                                      $ 19:23-14. This mandatory petition must conta       in, inter
alia' r,000 signatures of individuals who      are both residents of New Jersey and registered

members rrf the same political pafiy as the
                                            candidate seeking electic,n.2 Id.
                                                                                   $ r9:23-g.

      2In addition
                    to the 1,O00-signature requirement, New Jersey
                                                                   law mandates that a
nomination petition contain the foliowing elernents:

              Each such petitiorr shalr set forth that the signers
                                                                    thereof are
              qualified voters of the State, congressiond
                                                           d[trict, rounty, o.
              county election district, municipality, ward or
                                                              election district,
                      case may be, in which they reside and for
              T the
              desire to nominate candidates; that they are
                                                                   whiich they
                                                               members of a
              political pafiy 1nam11S the same), and, that they
                                                                    intend to
              {nli1e.  with thar political party at the ensuing eiection; that
              they.indorse the person or persons named in
                                                             their petition as
              candidate or candidates for nomination fbr the
                                                             office or offices
              therein named, and that theyrequest that the
                                                           name of the:person
              or persons therein mentioned be printed upon the orn.iut
                                                3
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        A- person   who obtains signatures on nomination petitions for          prospective
                                                                            a

 candidate is known as a "circulator." New Jersey law requires thal acirculator o,be
                                                                                     a

 registered voter in this State whose party affiliation is of the same political party
                                                                                       named

 in the petition." Id. $ 19:23-11 (emphasis added). Because the stertute restricts

 circulators to "registered voterfs] in lNew Jersey]," it follows that out-of-staters-.or,
                                                                                           by
 the same token, in-state resid.ents who are not registered to vote-rmay only gather

 signature:s on behalf of a prospective candidate     if they are accompia.nied at all times by an
 in-state witness, i.e., a New Jersey resident who is a registered voter of the same political

 party as the candidate named in the petition.    Id. To verify that circulators and/or
witnesses are indeed citizens of, and registered to vote in, New Jersey, the Secretary
                                                                                              of
State retains the right to cross-check nomination petitions     with New Jersey,s ,,statewide

voter registration system" ("SVRS"), which serves as the State's olficial repository
                                                                                     for
voter registration information" Id. $ 19:3 1-3   i.
       Appellants Wilmoth and Pool are self-described "professional circulators          of
election trretitions." (Appellants' Br. 6.) Wilmoth, a registered Dernocrat residing
                                                                                     in

Michigan, currently serves as the chief relations officer of Signature Masters, Inc.




              primary ballots of their political pafty as the canrjidate or
              candidates for such nomination. The petition shall further state
              the residence and post-office address of each person so
              indorsed, and shall certify that the person or persons so
              indorsed is or are legally qualified under the laws olthir Stut.
              to be nominated, and is or are a member or members of the
              political party named in the petition.

N.J. Stat. Ann. g 19:23-7.
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 (ooSMI"), "a Michigan corporation that specializes in petition
                                                                management solutions on a

 national level." (App. 161, 165.) Pool, for his part, is a registered
                                                                       Republican residing in

 Texas. IIe currently serves     as   president of Benezet Consulting (,,Ilenezet,,), a Texas-

 based   LLC "engaged in the business of circulating nomination petitions for Republican

 and Democratic candidates, including candidates for President
                                                               of the Unitecl States.,,3

 Qd. at 163.)

             In the months leading up to the 2016 presidential primaries, Wilmoth and
                                                                                      SMI
 were hired by Democratic Presidential candidate Roque ("Rocky',) De
                                                                     La Fuente to

 conduct "petition drives" in New Jersey. (Id. at 16I-62.) As for pool, Appellantsi
                                                                                    do not

describe the extent of his political work; instead, they note only that pool
                                                                             sought to

circulate petitions in New Jersey, but was unable to do so       oobecauser
                                                                              he does not know

 andlot could not locate any in-state registered voter willing to serve as a witness
                                                                                     of the

nomination petitions that he wanted to circulate in2016.,, (Id. at 162.)

         On April 4,2016, Wilmoth and Pool commenced suit under 42 U.S.C. g
                                                                            19g3 in

the Uniterl States District Court for the District of New Jersey against
                                                                         Appellee New

Jersey Lieutenant Governor and Secretary         of State Kimberly Guadzrgno, in her capacity

as the State's    chief election official.a Wilmoth and Pool specifically sought a declaration

that N.J. Sitat. Ann. $ 19:23-11 is unconstitutional under the First and Fourteenth




         i
       S.MI and Benezet are also named parties to this dispute. During oral
                                                                               argument,
however, .Appellants' counsel conceded that the entities' respective intJrests
                                                                               are not at
stake" Therefore, on remand, the District Court need only focus on the First
                                                                               Amendment
rights of Wilmoth and pool.
       a
         For sake of simplicity, we will refer to the Appellee as ooNew Jersey.,,
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Amendments insofar as it prevents out-of-staters like themselves fiom circulating

nomination petitions in New Jersey unless they are accompanied by an in-state, registered

voter. Such a requirement, Wilmoth       and Pool argued, "placefd] a severe burden" on

"core political speech" because it restricted their ability to engage in a number of political

activities, including their rights to:

                (a) disseminate their political views unimpeded; (b) choose the
                most effective mode of conveying their message; (c) associate
                with the voters of New Jersey in a meaningful way to elicit
                political change; and    (d)       secure ballot access for the
                candidates of their choice in the most effective, efficient and
                cost-effective manner possible. . . .

(App" 168.)

        On March 24,2017, the District Court issued an oral opinion from the bench

granting New Jersey's Rule 12(b)(6) motion to dismiss. Applying strict scrutiny review,

the District Court determined that N.J. Stat. Ann. $ 19:23-11 was constitutional because,

in its vie'w, New Jersey's "goal fofl ensurfing] the integrity of [its] election
                                                                                 [system]

through the use of the SVRS . . . clearly outweighfed] the adverse effectlsl on Wilmoth

and   Pool," (App. 31.) This timely appeal followed.

                                               II.

        The District Court had jurisdiction under 28 U"S.C. $ 1331. We have appellate

jurisdiction pursuant to 28 U.S.C. $ 1291.

        We exercise plenary review over a decision to grant a motion to dismiss.

Delawarcz.   Nation v. Pennsylvania, 446F.3d 410, 415 (3d Cir. 2006) (citation omitted).

"[I]n deciiding a motion to dismiss, all well-pleaded allegations of the complaint must     be
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   taken as true and interpreted in the light
                                              most favorable to the plaintiffs
                                                                                     ,   an<l   all
   inferences must be drawn in favor
                                     of them." A,trcTernan v. city of        york,       577   F.3d,52r,
   526 (3d cfu' 2009) (citation omitted).
                                          To withsrand a Rure l2(bX6) motion to
                                                                                dismiss, a
   complainLt'omust contain sufficient factual
                                               matter,accepted as true, to ,state a claim
                                                                                          to
  relief that is plausible on its face."' Ath*oft
                                                  v. Iqbar,556 U.s. 662,67g (200g)(quoting

  Bell Atl. tlorp. v. Twombly, 550 U.S" 544,5:l0
                                                 (2007)).5

                                                      ru.

                                                      A.

          It is well established that states have     'obroad power" to regulate their respective

  electoral processes. Timmons v. Twin
                                       cities Area New party,520 {J.s. 351, 35g (1gg7)
  (citing u.s. const. art.r, 4, cl"   i).   Indeed ,o,as apractical matter, there
                            $                                                     must be a
 substantial regulation of eiections if they
                                             are to be fair and honest and      if   some       sort.f
 order' rather than chaos, is to accompany
                                           the democratic proce ss.,, Burdick v. Taku,shi,

 504   u.s. 428,433 (1992) (quoting storer v. Brown,415
                                                        u.s. 724,730 (rg74)).                    The fact
 that states are afforded broad power to
                                         regulate their elections, however, does
                                                                                 not mean
 that their authority to do so is unrestricted.
                                                To the contrary, election-related legislation



       'Although wilmoth and pool indricate in their brief that they ,,seek
and injunctive relief,.both facially                                        declaratory
                                     and ar;-applied[,],, (Appellants,     Br. 3), Appeilants,
 oounsel clarified during oral argument
                                            thatjlei..iui- ir'in a.t an as-applied challenge,
not a facial challenge' The distinction is
                                               importarLt. A iaciat challenge .oseeks to
'rzindicate not only [the plaintiffs'] rights, but
                                                   those of others who may also be adversely
impacted by the statute in question.,,' City
                                                of Chi"rg" r. M"rales,52,7 u.s. 4r,55 n.22
(1999)'.An as-applied challenge, by contrast,
                                                    'odo,es not contend that a law is
unconstitutional as written but that its application
                                                         to u pu.ti.utu, pers()n under particular
circumstances deprived that person of
                                           a constitutional .ight.,, (Jnited states
Marcavage, 609 F.3d 264,2j3 (3d Cir"                           e'                    v.
                                             2010).
                                                  7
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   must conform to the limits imposed by the
                                             Constitution. Williams v. Rhodes,393 U.S.
  23.2e ( 1e68).

          In reviewing    a   First Amendment challenge to a state's election
                                                                              law, the Supreme
  Court has emphasized that "[n]o bright line
                                              separates permissible election-related

  regulation from unconstitutional infringements
                                                 on First Amendment freedoms.,,

  Timmons,520      u's'   at359 (citing storer,415   u.s.   at730).Instead, under what has come
  to be known as the Anderson-Burdick balancing
                                                test, 'othe rigorousness of our inquiry into

 the propriety of a state election law depends
                                               upon the extent to which a challenged

 regulation burdens" the plaintiff s First Amendment
                                                     rights. Burdick,5g4 u.s.          at   434.
 Evaluating these aileged burdens, in turn, requires ,,weighing,,
                                                    a             of severai factors,
 including: (1) the "chatacter and magnitude"
                                              of the alleged constitutional injury; (2),,the

 precise in1'erests put forward by the
                                       state as justifications for the burden imposed
                                                                                      by its
 rule[;]" and (3) o'the extent to which those interests
                                                        make it necessar,y to burden the

 plaintifrs rights." Anderson v. celebrezze,460lJ.s.
                                                         7g0, 7gg (1gg3). If, after reviewing
these factors, we determine that the challenged
                                                rergulation imposes ,o,severe, restrictions,,

on the plaintiff s First Amendment rights,
                                           then the law may be upheld as constitutional

only if it is oonarrowly drawn to advance a state
                                                  interest of compelling importance.,,

Burdick,504 u.s. at 434 (quoting Norman v. Reed,502
                                                    u.s. 27g,2gg (rgg2)).In other
words, striot scrutiny applies. lfowever, if
                                             we find that the challenged ,,provision

imposes oniy oreasonable, nondiscriminatory
                                            restrictions,,, upon the plaintiff     s   rights, id.
at 434 (quoting Anderson,460 u.s. at 7gg),then ,,the
                                                     State need not estabrish a

compelling interest to tip the constitutional scales
                                                     in its direction.,, ItJ. at439. Rather, the

                                                 8
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  State need only show that its "legitimate interests"
                                                       in upholding the          law,,sufficienttlv] . .
  .   outweigh" the burden imposed on the plaintiff. Id. at      440.6

           Out Anderson-Burdick inquiry in the instant case is quite
                                                                     straightforward. Since
  the turn of the century, "a consensus has emerged', that
                                                           laws imposing residency

 restrictions upon circulators of nomination petitions       ooare
                                                                     subject to strict scrutiny

 analysis'" Libertarian Party of Virginia v. Judd,718 F.3d 30g, 3 16-17 (4th
                                                                             Cir.2013)
 (citing   Y<zs   on Term Limits, Inc. v. savage,550 F.3d 1023,1030-31 (10th
                                                                             cir. 200g)
 (overturning, under strict scrutiny review, Oklahoma's prohibition
                                                                    on nonresident

 circulators of initiative petitions) ; Nader v. Blackwett, 545 F.3d
                                                                     45g, 475-76 (6th cir.

 2008) (finding ohio's ban on nonresident circulators of nominatiorr
                                                                     petitions

 unconstitutional under strict scrutiny review); Nader v. Brewer,s3l
                                                                     F.3d I02g,103S (9th
 Cir' 2008) (declaring unconstitutional, under strict scrutiny review
                                                                              , Arizonalaw   requiring
 circulators of nomination petitions to be in-state residents))
                                                                ; see also Initiative &

Referendum Inst. v. Jaeger,24r       F "3d,   614, 616_17 (gth cir. 2001) (applying strict

scrutiny review to North Dakota's proscription against nonresident
                                                                   initiative-petitign
circulators, but concluding that the State had satisfied its burden
                                                                    of proving that the law
was nalTo'wly tailored to advance North Dakota's compelling
                                                            interest in preventing

fraud).



         If is important to note that the Anderson-Burdick balancing test concerns
                                                                                          only
the appropriate level ofjudicia.l scrutiny of an election-related
                                                                  ,.gJution, and not
whether the interest articulated by the State is compelling . See
                                                                   Biener v. Calio, 361 F.3d
206,214 (3d Cir. 2004) (explaining that'owe follow[] thJflexible
                                                                      strandard set forth in
Anderson v. Celebrezze for determining the upproptiut. level
                                                                 of scrr"rtiny in ballot access
cases") (citing Belitskus v. pizzingritti,343 r-.ia ezz, 643 (3dcir.
                                                                       zooj)).
                                                   9
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          our sister coults' collective agreement on this issue
                                                                           has its genesis in Meyer v.

  Grant, where a unanimous Supreme Court
                                         held that colorado's criminalization of,paid

  petition oirculators amounted to an unconstitutional
                                                       restriction on oocore political speech.,,
  486   U'S' 414,422 (199s). In so hoiding, the Court emphasized
                                                                 that,,the circulation of a
  petition involves the type of interactive communication
                                                          concerninp; political change,, for

  which First Amendment protection           oois
                                                    at   its zenith." Id. at 42r-22,   425 (citations and

 quotation marks omiued). cf, Bucktey v. Am.
                                             constitutional Law ]tound., lnc.,525 tJ.s.

  182,192 (1999) (declaring unconstitutional Colorado's
                                                        initiative pr:tition laws because
 they "significantly inhibitfed] communication
                                               with voters about proposed political

 change, and [were] not warranted by the state
                                               interests . . . alleged to justify those

 restrictions").

         The plain language of N'J. stat. Ann. 19:23-11
                                              $         makes cleurthatone,s residency
 is the sine qua non for determining whether
                                             he or she may lawfully circulate nomination

petitions in New Jersey. Specifically, the
                                           relevant portion of the statute states that,,[t]he

person who circulates the petition shall be
                                            a registered voter in this
                                                                                  ^gtate whctse party
affiliation is of the same political party named in the petition.,,
                                                                    N.J. Stat. Ann.             g r9:23-lr
(emphasis added). New Jersey seeks to inoculate
                                                the "in this State,, language by arguing

that the starute, as a whole, should be more appropriately
                                                           regarded as imposin g a,,party

affiliation" restriction, not   a   residency restriction. see, e.g., (Appellee,s Br.        2l) (,,fT]his
Court should ' . . uphold the party affiliation requirement
                                                            in N.J. Stal.. Ann. g 19:23-11 as

.justified by'important regulatory interests.",) (quotingTimmons,520U.S.
                                                                         at 35g). This
argument, however, is unavailing. Wilmoth and
                                              Pool are dues-payin.g members of the

                                                         10
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   Democrirtic and Republican Pafiies, respectivel
                                                            y, yetremain   barred under N.J. stat. Ann.

   $ 19:23-11 from circulating nomination petitions in New
                                                           Jersey. lfheir paftyaffiliations,
  in other ''r''ords, are immaterial; instead, it is
                                                     the fact that they reside out of state that

  prevents them from circulating petitions.
                                            Because New Jersey's rersidency requirement

  for circulators restricts "core political speech,"
                                                     strict scrutiny review is warranted.

                                                       B.

         Having determined that strict scrutiny applies,
                                                         the burden now shifts to New

  Jersey to prove (1) that its stated interests
                                                in upholding the constitutionality of N.J. Stat.

 Ann' $ 19:23-rl are compelling        and (2) that the statute is    narrowly tailored to advance
 those interests' see Burdick,504 u.S.
                                       at 434; see also Republican.,party of Minnesota v.
 white,536 u.s. 765,774_75 (2002).

         Here, New Jersey argues that N.J. Stat. Ann"
                                                      $ 19:23-11 serves two compelling
 interests, namely: it "protectlsl political parties
                                                     from the raiding of their closed primaries
 and ' ' " preservfes] the associa.tional rights
                                                 of New Jersey political
                                                                         trorties.,, (Appellee,s
 Br' 23) (internal citation omitted). The Supreme
                                                  court          has held that, as a general

proposition, each interest is indeed compelling
                                                . see Rosario v. RocA:efeller, 4r0 rJ.s. 7 52,
761-62 (1973) (accepting New York's compelling
                                               interest in safeguarding its electi'ns

from 'opart'y raiding") ; see arso Tashjian v.
                                               Repubrican pare of connecticut,               479 TJ.s.

208,2I4 (19s6) ("The freedom of association protected
                                                      by the First             and Fourteenth
Amendments inciudes p arti s an pol iti cal or ganization
                                                          [s] .,,).

       our inquiry, however,      does not end   with a determination that     ,othe
                                                                                       Government,s
asserted interests are important in the abstract."
                                                   Turner        Broad. sys., [nc.     v.   Fcc,5r2
                                                  l1
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   u's' 622:",646 (1994)' Instead, "iw]hen the Government
                                                          defends            a   regulation on speech
   as a means to redress past harms or prevent
                                               anticipated harms,          it must . . . demonstrate
   that the recited harms are real, not merely
                                               conjectura l, and,that the regulation       will in fact
  alleviate these harms in a direct and materi
                                               aIway." Id. (intenal citations omitted). yet
  here' our ability to assess whether New
                                          Jersey's asserted interests are compelling is

  constrained by the fact that, at this stage
                                              of litigation, we o,have befbre us only the

  allegatiorrs ' ' ' in the complaint, orders issued
                                                     in the action, and other matters of public

  record."   -Free speech    coar., Inc. v. Att'y Gen.,677 F.3d 5rg,536(3d
                                                                                   cir. 2lr2)(citation
  omitted). In other words, because the District
                                                 court granted New Jersey's motion to
 dismiss pr:ior to discovery taking place,
                                           the parties were not afforded an opportunity
                                                                                        to
 develop an evidentiary record, and thus
                                         we have no basis upon whir;h to gauge the

 validity ol the competing interests at stake.

         To illustrate why the absence of such a record
                                                        is ultimately dispositive, consider

 the Eighth circuit's decision in Initiative
                                             & Referendum Institute. T'here, North Dakota
 argued that the residency requirement at
                                          issue "allowfed] North Dakota,s Secretary
                                                                                                of
 State to protect the petition process from
                                            fraud and abuse by ensurin gthatcirculators

answer to the Secretary's subpoena        power." 24r F.3d at 616. As support for its position,
the State "point[ed] to a 1994 incident" involving ,,[t]wo
                                                           utah reside,nts,, who fled the
State after playing a role    in "petition irregularities,, that resulted in some 17,000

signatures being invalidated a"matter that
                            ,              was never fully resolv ed.,'           Id. Retying on
1'his eviden<;e, the   court acceptecl North Dakota's contention
                                                                 that the istate indeed hadl ,,a
compeliing interest in preventing fraud . . . ."
                                                      Id.   Herc,by contrast, New Jersey has not

                                                 12
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   been affilrded an opportunity to present
                                            evidence showing that the State,s goals
                                                                                           of
   preventing party raiding and preserving
                                           the associational rights of New Jersey
                                                                                  political
   parties are sufficiently compelling
                                       reasons to uphold the constituti'
                                                                         nalityof'N.J. Stat.
  Ann' $ l9:23-rl' see also Krislov v. Rednour,226F.3d g51, g66
                                                                nt.7 (7th Cir.2000)

  ("[Ilf   the use of non-citizens were shown
                                              to correlate with a high incidence of fraud,
                                                                                           a
  State might have a compelling interest
                                         in further regulating noncitizen circulators.,,).

         Sirnilarly, we also have no basis upon
                                                 which to determine whether the New Jersey
  law prohibiting registered, out-of-state
                                           voters from circulating nomination pbtitions
                                                                                        is
  narrowly tailored to protect the state's
                                           interests. For example, to holp ensure the
                                                                                        integrity
  of New Jersey's election system, wilmoth
                                               and pool each,,have agreed to submit
                                                                                       to the
 jurisdiction of [New Jersey] fbr purposes
                                              of any investigatio n and,lorprosecution
                                                                                           of.
 petition fraud ' ' '" (Appellants' Br.
                 '                      13.) Submitting to a state,s jurisdiction fbr purposes
 of subpoena enforcement, in turn, has been
                                              accepted as a less restrictive means of

 achievingr"hesame goal. see, e.g.,chandrerv.
                                              cityofArvada,2g2F.3d1235,1244
 (1Oth cir"2002) (holding that
                               Appellee failed to prove narrow tailor.ing
                                                                          because it could
achieve its "compelling interest in policing
                                             its petition process,, by requiring ,nthe

prospectiver circulator
                          [to] agree to submit to [its] jurisdiction . . . for the purpose
                                                                                           of
subpoena enforcement"); Libertarian party
                                          of virginia, 71g F.3d at 31g (,,[R]equiring
uon-residerLts to sign agreements providirrg
                                             their contact information and swearing
                                                                                    to
return in the event of a protest is a more
                                           narrowly tailored option.,,) (quoting yes
                                                                                     on Term
I'imits' 550 F'3d at 1030). Thus, to survive
                                             strict scrutiny, New Jersey must o,show[]
                                                                                       that
[Appellants'] proposed less restrictive alternatives are less
                                                              effective than,,N.J. Stat. Ann.
                                                13
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$ 19:23-11 in achieving the State's asserted interests. Reilly v. Ciry of Harrisburg, g5g

F.3d 173,, 180 (3d cir. 2017), as amended (June 26,2017) (quoting
                                                                  Ashqo/t v. ACLU,
542 U'S' 656,666 (2004))' Because satisfying this burden necessarily
                                                                     requires recourse

to an evidentiary record, we have no choice but to remand for further proceedings.

                                                 IV.

       The complaint in this action presents a plausible claim that the New
                                                                            Jersey law

infringes out-of-state circulators' First Amendment rights. Accordingly,
                                                                         we will vacate

the order dismissing this action and remand to allow the parties to develop
                                                                            an appropriate

factual record for the purposes of determining whether the New Jersey
                                                                      law does in fact

violate the Appellants' constitutional rishts.




                                             I4
